 AO 247 (02/08) Order Regarding Motion for Sentence Reduction                                                          Rev. 4/10/2008


                                       UNITED STATES DISTRICT COURT
                                                                    for the
                                                     Eastern District of North Carolina

                   United States of America                           )
                                 v.                                   )
                                                                      ) Case No:     5:99-CR-68-IH
                        Benjamin General
                                                                      ) USMNo:       18381-056
Date of Previous Judgment:                  August 8, 2000            )
(Use Date of Last Amended Judgment If Applicable)                     ) Defendant's Attorney Cindy H. Popkin-Bradley

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of the            defendant              under 18 U.S.C. § 3582(c)(2) for a reduction in the term
of imprisonment imposed based on a guideline sentencing range that has subsequently been lowered and made retroactive
by the United States Sentencing Commission pursuant to 28 U.S.C. § 994(u), and the court having considered such
motion,
IT IS ORDERED that the motion is:

         IZl DENIED.            D GRANTED               and the defendant's previously imposed sentence of imprisonment (as reflected

                           in the last judgment issued) of             months is reduced to      months.
If the amount of time the defendant has already served exceeds this sentence, the sentence is reduced to a "Time Served"
sentence, subject to an additional period of up to ten (l0) days for administrative purposes of releasing the defendant.

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)

Previous Offense Level:                                                   Amended Offense Level:
Criminal History Category:                                                Criminal History Category:
 Previous Guideline Range:                      to              months    Amended Guideline Range:
                                   ---               ---                                               - - - to - - - months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
D The reduced sentence is within the amended guideline range.
D The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time of
    sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the amended
    guideline range.

D Other (explain) :

III. ADDITIONAL COMMENTS
 Defendant is not eligible for a sentence reduction pursuant to the retroactive crack cocaine guideline amendment because
the amount of crack cocaine involved was greater than 4,500 grams.
Except as provided above, all provisions of the judgment dated August 8 2000
shall remain in effect.
                                                                  --'='--------------------­
 IT IS SO ORDERED.

 Order Date:           &b~J Ip
 Effective Date:                                                          Malcolm 1. Howard, Senior U.S. District Judge
                   (if different from order date)                                           Printed name and title

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